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 8
 9
                              UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12   ENTTECH MEDIA GROUP LLC                 Case No. 2:20-cv-06298-JWH (Ex)
13               Plaintiff,
                                             JOINT STIPULATION RE
14          v.                               ENTTECH MEDIA GROUP LLC’S
                                             MOTION TO COMPEL UNDER
15   OKULARITY, INC., et al.                 LOCALUNDER RULE 37-2,4 FOR
                                             NON-DISCLOSURE OF DAMAGES
16               Defendants.                 COMPUTATION AND
                                             EVIDENTIARY MATERIAL
17                                           UNDER RULE 26(a)
18                                           [HON. CHARLES. F. EICK]
19                                           Date: June 4, 2021
20                                           Time: 9:30 am
21                                           Location: Roybal Federal Building and
22                                           United States Courthouse, 255 East
                                             Temple Street, Los Angeles, CA, 90012,
23                                           Courtroom 750, 7th Floor
24
                                             Discovery Cutoff Date: None
25                                           Pretrial Conference Date: None
                                             Trial Date:               None
26
27
28
                    STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37-2.4
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 1 I.          PLAINTIFF’S ARGUMENT.
 2             Counterclaimants have failed to comply with Federal Rule of Civil Procedure
 3 26(a)(1)(A)(iii) requiring a party to make initial disclosures containing substance useful
 4 to the litigants, including identification of witnesses, categories of relevant documents in
 5 a party’s possession, and a computation of damages.
 6             Counterclaimants served their Initial Disclosures on February 18, 2021. On March
 7 25, 2021, ENTTech sent Counterclaimants a meet and confer letter regarding deficiencies
 8 in Counterclaimants’ Initial Disclosures, and the parties met and conferred on March 26,
 9 2021. On April 5th, Plaintiff sought confirmation that no amended disclosures were
10 forthcoming, and on April 7th, Counterclaimants confirmed. These communications are
11 memorialized in Exhibits B-E to the concurrently filed declaration of Robert Tauler.
12             The purposes of the initial disclosure requirements are to put parties on notice of
13 the factual and legal contentions of the opposing party, and to eliminate surprise and trial
14 by ambush. See, e.g., Ollier v. Sweetwater Union High School Dist., 768 F.3d 843, 862–
15 63 (9th Cir. 2014). Counterclaimants have failed to do so as detailed herein.
16             A.      Witnesses.
17             The Disclosures only list three witnesses, (1) “PMK of Backgrid,” (2) “PMK of
18 Splash,”1 and (3) “PMK of XPosure.” (Tauler Dec., Ex A). This does not provide any
19 meaningful information for the recipient. Plaintiff is entitled to know Counterclaimant’s
20 witnesses. Moreover, there is no such thing as a “PMK” in the federal rules of civil
21 procedure. Even if there were, the initial disclosures must contain names of witnesses,
22 not simply the names of the parties with the letters “PMK” in front of them. This is not
23 useful information in any way. Even if there were any legitimate excuse for not
24 disclosing this information, it is Counterclaimants’ burden to provide information
25 required “to explain in its Rule 26 initial disclosures the extent of any disability” to
26 comply with the disclosure obligations, and the explanation “must be specific.”
27
28   1
         Splash is no longer in this case, and is not the subject of this motion.
                                                       1
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 1 Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012 WL5504036, at *3 (N.D.
 2 Cal. Nov. 13, 2012).
 3         B.     Categories of Documents.
 4         As to documents, Counterclaimants state that only the following documents are
 5 available to them:
 6      • Copyright registrations and photographs at issue;
 7      • All chain of title documents related to the photographs at issue, including
 8         assignments thereof;
 9      • All screenshots of the infringements caused by ENTTech;
10      • All DMCA notices and counternotifications relating to ENTTech’s infringements;
11      • All documents attached to the complaint.
12         Four out of the five categories are included as exhibits to the Counterclaims, and
13 the “chain of title documents” have not been produced, despite being requested on March
14 25, 2021. Counterclaimants may not withhold categories of information available to
15 them, and the Court should preclude Counterclaimants from using any categories of
16 documents withheld. Yeti by Molly v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
17 Cir. 2001) (“forbidding the use at trial of any information required to be disclosed by
18 Rule 26(a) that is not properly disclosed . . . .”).
19         C.     Damages.
20         Federal Rule of Civil Procedure 26(a)(1)(A)(iii) requires a party to disclose as part
21 of its initial disclosures “a computation of each category of damages claimed by the
22 disclosing party—who must also make available for inspection and copying under Rule
23 34 the documents or other evidentiary material . . . on which each computation is based,
24 including materials bearing on the nature and extent of injuries suffered.”
25         Counterclaimants’ Initial Disclosures provide only a vague, generic placeholder,
26 but no computations for any category of damages claimed and no description of the
27 documents on which the Counterclaimants rely to calculate its damages. (Brandywine
28 Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012 WL5504036, at *2 (N.D. Cal. Nov. 13,
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 1 2012) [Plaintiff’s damages computation “must call out the particular materials relied on
 2 and identify them in some plausible way so as to clarify the basis for the disclosed
 3 computations.”].)
 4         A computation of damages for lost profits or earnings requires as part of the initial
 5 disclosures “some analysis” because “by its very terms Rule 26(a) requires more than
 6 providing—without any explanation—undifferentiated financial statements; it requires a
 7 ‘computation,’ supported by documents.” Frontline Med. Assocs., Inc., v. Coventry
 8 Health Care, 263 F.R.D. 567, 569 (C.D. Cal. 2009). Therefore, a plaintiff must disclose,
 9 for example, “the time period for which it is claiming damages,” “computation of lost
10 gross revenues,” and “computation of expenses and lost profits.” Id. “Simply producing
11 financial statements without this type of explanation is not sufficient.” Id. Initial
12 disclosures regarding damages computations also “must call out the particular materials
13 relied on and identify them in some plausible way so as to clarify the basis for the
14 disclosed computations.” Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., 2012
15 WL 5504036, at *2 (N.D. Cal. Nov. 13, 2012).
16         Counterclaimants have no valid justification for failing to comply with its
17 disclosure obligations regarding its damages theories because all of the evidence and
18 documents potentially supporting such damages theories would be in Counterclaimants’
19 possession. For example, only Counterclaimants could know the market value of the
20 images at issue, yet this information is not provided.
21         D.     Conclusion.
22         For the foregoing reasons, the motion should be granted, and the moving party
23 should be awarded its fees and costs under FRCP 37 (a)(4)(A) and the remedies detailed in
24 FRCP 37(c)(1).
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     II.   BACKGRID AND XPOSURE’S ARGUMENT
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 2         Backgrid USA, Inc. and Xposure Photo Agency, Inc. (the “Agencies”) oppose this

 3 motion as unnecessary because the Agencies offered to amend their initial disclosures
                                         2
 4 and as moot because they did so amend. Ardalan Decl., ¶¶ 2-4, Ex. A, C.
           Witnesses: “A party must make its initial disclosures based on the information
 5
 6 then reasonably available to it.” Fed. R. Civ. P. 26(a)(1)(E); Silvagni v. Wal-Mart Stores,
 7 Inc., 320 F.R.D. 237, 240-41 (D. Nev. 2017). The Agencies listed the PMK of each
 8 respective entity as a witness under Rule 26. ENTtech has provided no authority
 9 supporting the notion that a PMK/PMQ is not an appropriate disclosure under Rule 26.
10 Regardless, ENTtech has incurred no harm by this disclosure. Regardless, to avoid
11 wasting judicial resources, the Agencies list witnesses while reserving all rights to later
12 amend their disclosures. These witnesses were listed in the amended disclosures provided
13 to ENTtech on April 21, before ENTtech initiated this motion. See Ardalan Decl. Ex. A.
14         Documents: The Agencies are not withholding documents. As ENTtech correctly

15 notes, it already has four out of the five categories of documents. At the time ENTtech
16 circulated its portion of the first stipulation, the Agencies’ responses to discovery were
17 not yet due. The Responses make clear that the Agencies are willing to produce these
18 documents. ENTtech failed to return its agreement to file a proposed protective order
19 until April 21, 2021, the deadline for the Agencies to respond to the first joint stipulation.
20 The draft order was exchanged on April 15, 2021. Ardalan Dec., ¶ 5.
           Damages: Rule 26 does not elaborate on the level of specificity required in the
21
22 damages disclosure. “Just as courts eschew broad contention interrogatories at the outset
23 of a case as premature, the initial damages computation is generally viewed as merely a
24 preliminary assessment that is subject to revision. Silvagni,, 320 F.R.D. at 241. Here, as
25 noted in the initial disclosures by the Agencies, they may elect either statutory damages
26
     2
    Limited discovery was opened in this case on February 12, 2021. Limited Initial
27
   Disclosures were ordered to be exchanged on February 18, 2021. The pleadings are not
28 closed. As such, this case is only about two months into limited discovery.
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 1 or actual damages. That election can be made at any time before judgement. 17 U.S.C. §
 2 504; Oracle America, Inc. v. Google, Inc., 131 F.Supp. 3d. 946, 955 (N.D. Cal. 2015). As
 3 such, the Agencies disclosed both actual and statutory damages. Statutory damages are
 4 based off of the willfulness of defendant’s conduct. Id. That is not something that lends
 5 itself to a “computation.” Frontline Medica Assocs., Inc. v. Covertry Health Care, 263
 6 F.R.D., 567 (C.D.Cal 2009), relied on by ENTtech to explain that “some analysis is
 7 needed,” explains that for a claim of lost wages there should be something relating to
 8 hours worked and pay rate. The Agencies simply cannot do that with respect to
 9 Defendants’ willful behavior.
10         The Agencies also disclosed that they are entitled to defendants’ profits
11 attributable to the infringement, which the Agencies cannot disclose at this early stage
12 because that information is in the possession of ENTtech, not the Agencies. The
13 Agencies disclosed they would be entitled to actual damages. To assist ENTtech further,
14 they amended their disclosures to explain they are entitled to “the market value of
15 copyrighted work that has been injured or destroyed by infringement [and] in addition,
16 the reasonable market value of the copyrighted work at the time of the infringement.”
17 The Agencies are not required to provide a dollar value but have provided a computation
18 of actual damages. The Agencies have provided exactly what information they can at
19 this early stage of the litigation.
20      The Photo Agencies Amended their Disclosures Therefore the Photo Agencies
21                   Should Recover Their Fees and Costs Under FRCP 37
22         The Photo Agencies have amended their initial disclosures and have provided
23 information available to them. This motion was unnecessary. Prior to serving its portion
24 of the stipulation, the Photo Agencies explained to ENTtech that they believed their
25 disclosures were proper, but that any complaints ENTtech had about the Agencies’
26 disclosures also exist with ENTtech’s disclosures. Ardalan Decl., Ex. B, C. The Agencies
27 offered to supplement if ENTtech agreed to supplement its disclosures on the same
28 issues which it now complains. Instead of taking the Agencies up on this offer, ENTtech
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 1 engaged in motion practice, tacitly admitting its own disclosures are apparently deficient.
 2          Sanctions Should Issue Against ENTtech
 3          This motion to compel was completely unnecessary. ENTtech’s complaints about
 4 the Photo Agencies’ Initial Disclosures existed in its own initial disclosures. If this were
 5 a bona fide concern, ENTtech would have agreed to the Photo Agencies offer to mutually
 6 amend disclosures. Instead of avoiding the motion, ENTtech brought a first motion to
 7 compel, albeit while violating this Court’s Local Rules. See Dkt. 124 The Photo Agencies
 8 amended their initial disclosures prior to Plaintiff’s exchange of its portion of this
 9 stipulation, but ENTtech does not even acknowledge the amended disclosures. This
10 motion is not necessary and sanctions should be awarded at least because the Photo
11 Agencies endured this process twice because of ENTtech’s failure to comply with the
12 rules.
13 DATED: May 6, 2021                                    TAULER SMITH LLP
14
                                                         By: /s/ Robert Tauler
15
                                                         Robert Tauler, Esq.
16                                                       Attorneys for Plaintiff and
                                                         Counterclaim-Defendant
17
                                                         ENTTech Media Group LLC
18
19 DATED: May 6, 2021                                    ONE LLP
20
                                                         By: /s/ Joanna Ardalan
21
                                                         Joanna Ardalan
22                                                       Peter R. Afrasiabi
                                                         David W. Quinto
23
                                                         Attorneys for Counterclaimants and
24                                                       Counterclaimants Backgrid USA,
                                                         Inc. and Xposure Photo Agency, Inc.
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 1
                       LOCAL RULE 5–4.3.4(a)(2)(i) CERTIFICATION
 2
          The undersigned attests that all other signatories listed above on whose behalf this
 3
     filing is submitted concur in the filing’s content and have authorized the filing.
 4
 5
     DATED: May 6, 2021                                   TAULER SMITH LLP
 6
 7
                                                          By: /s/ Robert Tauler
 8                                                        Robert Tauler, Esq.
                                                          Attorneys for Plaintiff and
 9                                                        Counterclaim-Defendant
                                                          ENTTech Media Group LLC
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 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that on May 6, 2021, copies of the foregoing document were served
 3 by the Court’s CM/ECF system to all counsel of record in this action.
 4
 5 DATED: May 6, 2021                                  TAULER SMITH LLP
 6
                                                       By: /s/ Robert Tauler
 7
                                                       Robert Tauler, Esq.
 8                                                     Attorneys for Plaintiff and
                                                       Counterclaim-Defendant
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                     STIP RE ENTTECH’S MOTION FOR SANCTIONS UNDER RULE 37-2.4
